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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

Criminal No. f(g O

UNITED STATES OF AMERICA )
v. 5 (16 U.S.C. § 668(a))
RODNEY THOMAS 5
INDICTMENT
COUNT ONE
The grand jury charges:

On or about May 12, 2023, in the Western District of Pennsylvania, the defendant,
RODNEY THOMAS, without the permission of the Secretary of the Interior, did knowingly or
with wanton disregard for the consequences of his act, unlawfully take a bald eagle, Haliaeetus
leucocephalus, commonly known as the American bald eagle, that is, by shooting and killing it
with an air rifle, in Mount Pleasant Township, Pennsylvania.

In violation of Title 16, United States Code, Section 668(a).

FILED
JUL 18 2023

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WEST. DIST, OF PEMMSYLVANIA
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FORFEITURE
The United States hereby gives notice to the defendant charged in Count One and that
upon his conviction of such offense, the government will seek forfeiture in accordance with Title 16,
United States Code, Section 668b(b), which requires any person convicted of this offense to forfeit
to the United States of America any and all bald eagles taken contrary to the provisions of Title 16,
Chapter 5A, Subchapter II, and all guns, traps, nets, and other equipment, vehicles, and other means
of transportation used to aid in the taking of any bird in violation of said subchapter.

A True Bill,

   

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